            Case 1:21-cv-00159-LY Document 13 Filed 04/06/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00159-LY
             Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 COLDWELL BANKER REAL ESTATE,
 LLC,

              Defendant.

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant Coldwell Banker Real Estate, LLC in the within action WITHOUT PREJUDICE.

Coldwell Banker Real Estate, LLC has not served an answer or a motion for summary judgment.

Dated: April 6, 2021                                 Respectfully submitted,

                                                     SAND, SEBOLT & WERNOW CO., LPA

                                                     /s/ Andrew S. Curfman
                                                     Andrew S. Curfman (Pro hac vice)
                                                     Aegis Tower – Suite 1100
                                                     4940 Munson Street NW
                                                     Canton, Ohio 44718
                                                     Telephone: (330) 244-1174
                                                     Facsimile: (330) 244-1173
                                                     Email: andrew.curfman@sswip.com

                                                     Jay Johnson
                                                     KIZZIA & JOHNSON, PLLC
                                                     1910 Pacific Avenue – Suite 13000
                                                     Dallas, Texas 75201
                                                     Telephone: (214) 451-0164
                                                     Facsimile: (214) 451-0165
                                                     Email: jay@kjpllc.com

                                                     ATTORNEYS FOR PLAINTIFF
          Case 1:21-cv-00159-LY Document 13 Filed 04/06/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on April 6, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                    /s/ Andrew S. Curfman
                                                    Andrew S. Curfman




                                               2
